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  1   P. Kristofer Strojnik, State Bar No. 242728
      pstrojnik@strojniklaw.com
  2   Esplanade Center III, Suite 700
  3   2415 East Camelback Road
      Phoenix, Arizona 85016
  4   Telephone: (415) 450-0100
  5
      Attorneys for Plaintiff
  6   THERESA BROOKE
  7                             UNITED STATES DISTRICT COURT
  8
                            CENTRAL DISTRICT OF CALIFORNIA
  9
 10
      THERESA BROOKE, a married woman                 Case No: 21-cv-1355
 11   dealing with her sole and separate claim,
                                                      NOTICE OF VOLUNTARY
 12                        Plaintiff,                 DISMISSAL WITH PREJUDICE
 13
      vs.
 14
      ESA PROPERTIES LLC,
 15
 16                         Defendant.
 17
             NOTICE IS HEREBY GIVEN that Plaintiff Theresa Brooke dismisses the above
 18
      action with prejudice; each party to bear own costs and fees.
 19
 20          RESPECTFULLY SUBMITTED this 16th day of August, 2021.
 21
 22                                               /s/ Peter Kristofer Strojnik
                                                  Peter Kristofer Strojnik (242728)
 23
                                                  Attorneys for Plaintiff
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